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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

SUSAN CHEW; MARIANNE “MUFFY”

DAVIS

CASE NO.
Plaintiffs

Vv AFFIDAVIT OF JOHN MCCROSTIE

THE LEGISLATURE OF THE STATE OF

IDAHO; SCOTT BEDKE in his capacity as

ADMINISTRATOR OF THE
HOUSE OF REPRESENTATIVES

Defendants

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STATE OF IDAHO )
County of Ada )

JOHN MCCROSTIE being first duly sworn deposes and says:

My name is John McCrostie. I have served in the Idaho House of Representatives since
December 2014 representing District 16, which covers Garden City and parts of west and
northwest Boise.

The Idaho Legislature held a Special Legislative Session from August 24-26, 2020. This
was during the time of the Covid-19 global pandemic with Idahoans and all Americans being
asked to socially distance themselves, wear masks, and wash or sanitize their hands, among a

litany of health precautions, in order to prevent the spread of Covid-19. In preparation for the

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Special Session, the Legislative Services Office (LSO) staff performed a great deal of work to
provide the Legislature a safe place to work and the public a safe place to be present and offer
testimony. Before the Session even started, members of the public at-large soon made this safe
place unsafe.

| arrived at the Capitol early on August 24 to allow plenty of time to be prepared for
what I expected of the Session. As | approached my 4" floor office, | walked past the House
Gallery, which designated seats marked off which were to remain unoccupied in compliance
with social distancing, leaving only about 26 to 28 seats available to the public. A section of
seating was also roped off where Minority Party Representatives were allowed to sit and observe
action on the House Floor during debate and then return te the House Floor upon time to vote.
However, the gallery would soon become disruptive and chaotic.

Sometime between 9 AM and 9:30 AM, I could hear chanting outside the gallery
chamber. An organized group initially asked and then demanded that the security guards let them
in to the gallery. The guards initially allowed people to come in to fill those open seats that still
provided for social distancing, but after capacity was met, the crowd wanted to sit in the
blockedoff seats. They continued chanting, and at 9:37 AM, I posted a quick 24-second
Facebook Live video to my political page . Tensions continued to mount, [SP tried to act as a
barricade, but eventually the glass to one of the gallery doors was shattered, allowing the crowd
to enter into the gallery. They eventually removed ail of the social distancing signs, took the rope
down, and filled the gallery to a standing-room only capacity with no social distancing and at
least one individual reported to have been carrying an assault-style rifle. Those who were left
without seats were eventually asked to leave since standing is not permitted in the House gallery.

This was not the only disruption to occur during the Special Session.

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Photograph of gallery door with glass pane broken

Later that morning, the House Judiciary and Rules Committee was supposed to meet at
11 AM. The hearing room, EW42, was set up to allow for social distancing among committee
members, and for the audience, seating was provided to allow for a six-foot distance between
chairs. Similar to the House Gallery fiasco, though fortunately without any destruction of
property, the audience refused to abide by social distancing protocols and simply entered the
room with most of the audience standing or sitting on the floor . Committee members, including
Representative Christy Zito and Chairman Greg Chaney, asked the unruly crowd to be orderly.

They would not comply, and eventually the hearing was moved to the Lincoln Auditorium.

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Photograph of Hearing Room EW45 with standing room only

When the hearing officially began at 11:47 AM, the crowd moved with us. Since the
Lincoln Auditorium was much larger than EW42, the crowd was seated, but yet again, social
distancing requests were dishonored, and the room was again standing room only. However,
there were few people who remained standing since there was almost ample seating once social
distancing requirements remained unfulfilled. Due the unruly nature of the crowd and her
concem for safety, Representative Melissa Wintrow excused herself from the hearing and

observed the action remotely from her computer.

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Photograph of the Lincoln Auditorium with no social distancing and large crowd without masks
On August 25th, the second day of the Special Session, the animosity in the House
Judiciary and Rules hearing rose to a fever pitch. Prior to the start of the hearing, members of the

audience holding what they stated were press passes that would allow them to sit in the
designated media area were told that they did not hold actual press passes. These two individuals
sat in the front row on the same side of the room where I was sitting. As soon as Chairman
Chaney gaveled the meeting to order at 2:28 PM, those two individuals immediately moved to
the designated media area. The Chairman reminded them that they were told that they could not
site there. Commotion began with the two demanding that they sit there. The crowd began to
protest the Chairman’s actions, and the committee was put at ease at 2:30 PM. I took two videos
to document the event. One I recorded straight to my phone, and I posted that the next day to my
political Facebook page. However, when I realized that the community at large should see what
was taking place, I stopped the first video and then started a Facebook Live video that was live

for 4 minutes 45 seconds capturing the crowd’s anger, displaying the emerging presence of the

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Idaho State Police (ISP) from the back of the room to the front of the room, and my personal
commentary as well as responding to questions from viewers of the live video.

As the crowd was seeming to want a confrontation with ISP, and with Representative
Muffy Davis seated to my right, I stopped recording and tried to formulate a plan to exit the
room. The back-left corner of the auditorium has an exit that would bypass the front entrances
and allow us to exit safely and away from the crowd. However, Representative Davis has
mobility with her wheelchair, and the back exit requires going up stairs and is not wheelchair
accessible. I thought that if necessary, | could carry her up the stairs if someone else could get
her wheelchair. But not knowing what Representative Davis wanted, I asked her what she
wanted to do. She got hold of an LSO staff member who obtained a couple of ISP escorts to take
her out of the auditorium. I left with her to ensure that she would be safe. The remainder of what
took place in the auditorium is documented through traditional media outlets. Before the hearing
restarted at EW42, the committee members were assured that ISP had secured the building. The
hearing eventually reconvened at 4:06 PM, and the rest of our business was conducted for that
day.

The crowd’s unruliness and their unwillingness to follow any Covid-19 safety protocols
made for an incredibly unsafe Special Session. I regularly felt unsafe from the mob mentality,
and I was constantly worried about whether I would contract Covid-19 from my majority party
colleagues who were not wearing masks. I brought two masks each day of the Special Session
and wouid change into a clean mask for the second half of the day. I know a couple of my
minority party colleagues took Covid-19 tests immediately after the Session to know if they had
been exposed to the virus due to the extremely unhealthy environment in the Legislature and the

lack of health and safety protocols.

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Dated this #* day of January, 2021

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/ soun MCCROSTIE

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SUBSCRIBED AND SWORN to before me this¢ day of January, 2021

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€ ANGELICA P. LOEFLER ff

COMMISSION #48545}

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STATE OF IDAHO

 

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